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                         UNITED STATES BANKRUPTCY COURT
                     DISTRICT OF MASSACHUSETTS (SPRINGFIELD)

IN RE:                                                      Case No. 18-30224-EDK
                                                            Chapter 7
Joey A. Saalfrank, and Jennifer M. Saalfrank,

Debtors

               STIPULATION ON FREEDOM MORTGAGE CORPORATION
                        MOTION FOR RELIEF FROM STAY
                               (DOCKET NO. 22)

       Now comes Freedom Mortgage Corporation and Joey A. Saalfrank and Jennifer M.
Saalfrank (“Debtors”), who stipulate as follows:

         1. The parties agree that the Freedom Mortgage Corporation’s Motion for Relief from
            Automatic Stay [Docket No. 22] may be granted effective thirty (30) days from the date
            of this agreement.

Agreed to on this 28th day of August, 2018.

 Freedom Mortgage Corporation,                     Steven Weiss, Chapter 7 Trustee,
 By its attorney,


 /s/ Jason J. Giguere                              /s/ Steven Weiss_________________________
 Jason J. Giguere, Esquire                         Steven Weiss, Esq.
 BBO# 667662                                       BBO # 545619
 Harmon Law Offices, P.C.                          Shatz, Schwartz, and Fentin, P.C.
 PO Box 610389                                     1441 Main Street
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                         UNITED STATES BANKRUPTCY COURT
                     DISTRICT OF MASSACHUSETTS (SPRINGFIELD)

IN RE:                                                       Case No. 18-30224-EDK
                                                             Chapter 7
Joey A. Saalfrank, and Jennifer M. Saalfrank,

Debtors

                                 CERTIFICATE OF SERVICE

       I, Jason J. Giguere, state that on August 28, 2018, I electronically filed the foregoing
document with the United States Bankruptcy Court for the District of District of Massachusetts on
behalf of Freedom Mortgage Corporation using the CM/ECF System. I served the foregoing
document on the following CM/ECF participants:

Eric Kornblum
Mitchell J. Levine
Steven Weiss
Richard T. King

I certify that I have mailed by first class mail, postage prepaid, the documents electronically filed
with the Court on the following non CM/ECF participants:

Joey A. Saalfrank
24 Middlefield Road
Chester, MA 01011

Joey A. Saalfrank
216A Norwich Lake
Huntington, MA 01050

Jennifer M. Saalfrank
24 Middlefield Road
Chester, MA 01011

Jennifer M. Saalfrank
216A Norwich Lake
Huntington, MA 01050

Admirals Bank
200 Clarendon St., Floor 22
Boston, MA 02116
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Chester Tax Collector
203 Middlesex Ave.
Chester, CT 06412-0314



                                        Respectfully submitted,

                                        Freedom Mortgage Corporation,
                                        By its attorney,

                                        /s/ Jason J. Giguere
                                        Jason J. Giguere, Esquire
                                        BBO# 667662
                                        Harmon Law Offices, P.C.
                                        PO Box 610389
                                        Newton Highlands, MA 02461
                                        (617)558-0500
                                        mabk@harmonlaw.com
Dated: August 28, 2018
